

*491
OPINION.

Siefkin :
This proceeding requires a decision as to whether the transfer from the petitioner to his friend and business associate, Read, was a valid, bona fide transaction or a false face for the United States. Both the petitioner and Read testified in unequivocal terms that there was no understanding or agreement whatever that the transfer was anything other than an absolute sale. The actions of the petitioner and Read, however, lead us to a different conclusion and we have held that the transfer was not bona fide. The testimony of the petitioner and Read seriously contrasts with the circumstances under which the stock was transferred, held and retransferred, and the testimony leaves unexplained circumstances which lead us to our conclusion, notably the sale by Read of a portion of the stock and the payment by him of the same amount to the petitioner. It may be that a full explanation of these facts by the parties who knew most about them would remove our doubts, but the witnesses, intelligent business men, represented by fully competent counsel, were led through a narrow line of testimony and were exceedingly vague and forgetful upon matters which we feel would shed light upon the transaction. We conclude that the petitioner has not met the burden of showing the respondent’s determination to be erroneous and that the evidence introduced indicates the correctness of such determination.
Reviewed by the Board.

Judgment will be entered for the respondent.

